        Case 1:25-cv-10601-MJJ Document 131 Filed 05/22/25                              Page 1 of 1
                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

                     CLERK’S CERTIFICATE AND APPEALS COVER SHEET

                               ABBREVIATED ELECTRONIC RECORD


Case Caption:                     State of New York, et al. v. McMahon, et al
                                  __________________________________________________________

District Court Number:            25cv10601-MJJ
                                  __________________________________________________________


Fee:    Paid?                                       X
                 Yes ____ No ____ Government filer ____ In Forma Pauperis Yes ____ No ____


Motions Pending                        X
                          Yes ____ No ____                  Sealed documents                      X
                                                                                     Yes ____ No ____
If yes, document #        _______________                   If yes, document #       _______________

Ex parte documents                     X
                          Yes ____ No ____                  Transcripts                   X No ____
                                                                                     Yes ____
If yes, document #        _______________                   If yes, document #       121
                                                                                     _______________



Notice of Appeal filed by: Plaintiff/Petitioner ____                         X
                                                       Defendant/Respondent ____ Other: ____

Appeal from:
#128 Memorandum and Order
Other information:




        I, Robert M. Farrell, Clerk of the United States District Court for the District of Massachusetts, do
hereby certify that the annexed electronic documents:

#128 and #130
with the electronic docket sheet, constitute the abbreviated record on appeal in the above entitled case for
the Notice of Appeal # ________
                         130       filed on__________________.
                                            May 22, 2025


                                                                                          May 22, 2025
        In testimony whereof, I hereunto set my hand and affix the seal of this Court on _____________.



                                                            ROBERT M. FARRELL
                                                            Clerk of Court


                                                            /s/Matthew A. Paine
                                                            ____________________________
                                                            Deputy Clerk




COURT OF APPEALS DOCKET NUMBER ASSIGNED: ____________________________


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